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                    EXHIBIT 45
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                                                                 1
 1                  UNITED STATES DISTRICT COURT

 2      NORTHERN DISTRICT OF CALIFORNIA - SAN JOSE DIVISION

 3     - - - - - - - - - - - - - - - - -X

 4     APPLE INC., a California            :

 5     Corporation,                        :

 6                    Plaintiff,           :

 7     v.                                  :

 8     SAMSUNG ELECTRONICS CO., LTD., a :

 9     Korean corporation; SAMSUNG         :Civil Action No.

10     ELECTRONICS AMERICA, INC., a New :12-cv-00630-LHK(PSG)

11     York corporation; and SAMSUNG       :

12     TELECOMMUNICATIONS AMERICA, LLC, :

13     A Delaware limited liability        :

14     Company,                            :

15                  Defendants.            :

16     - - - - - - - - - - - - - - - - -X

17     (Caption continued on next page)

18
19             Videotaped Deposition of NORBERT FUHR

20                      London, United Kingdom

21                       Friday, July 12, 2013

22                                9:00 a.m.

23
24     Job No.: 40426                            Pages 1 - 212

25     Reported by: Georgina Ford, ACR, CLR, MAVSTTR, MBIVR
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                                                                88
 1     just had one single box -- search box you would call           11:29:45
 2     it nowadays -- for entering a query and then at that           11:29:50
 3     time you could directly access FreeWAIS to the single          11:29:53
 4     box but, of course, with our concepts of several               11:29:59
 5     fields and also the different search predicates, we            11:30:02
 6     wanted to have something like forms and they had not           11:30:07
 7     been introduced at that time and only after forms had          11:30:10
 8     been introduced in HTML we started working on SFgate.          11:30:14
 9                 On the other hand, as the date in 1995 we          11:30:26
10     described SFgate; so it must have happened between.            11:30:31
11            Q.   I may have asked you this already and              11:30:43
12     I apologize.   Did you write any of the source code for        11:30:44
13     SFgate?                                                        11:30:47
14            A.   No, I didn't.                                      11:30:48
15            Q.   Who was responsible starting in 1994 for the       11:30:49
16     development of SFgate?                                         11:30:52
17            A.   It was mainly Ulrich Pfeiffer and at some          11:30:55
18     point in time Norbert Govert also got involved but I           11:31:02
19     don't know exactly when this happened.     This was            11:31:06
20     already at that time or only later when he got this            11:31:10
21     position as his successor.    I don't know.                    11:31:15
22            Q.   Just so I'm clear on the dates and the             11:31:34
23     members of your group, you became an associate                 11:31:37
24     professor in 1991 in Dortmund?                                 11:31:39
25            A.   Mm-hm.                                             11:31:41

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                                                                 89
 1            Q.   When did Mr. Pfeiffer join your group?             11:31:42
 2            A.   He immediately joined me when I started            11:31:45
 3     there.                                                         11:31:49
 4            Q.   And --                                             11:31:50
 5            A.   In 1991.                                           11:31:51
 6            Q.   And when did Mr. Govert join your group?           11:31:52
 7            A.   That's -- I'm not sure but I think that was        11:31:57
 8     in '96 as successor.    Well, I'm quite sure that he was       11:32:09
 9     the successor for Ulrich Pfeiffer in this position.            11:32:15
10            Q.   So Mr. Govert could not have been involved         11:32:22
11     in the initial development of SFgate?                          11:32:24
12            A.   Well, we had some students who were paid for       11:32:28
13     doing some programming work and maybe that he did this         11:32:30
14     for us.     Yes, he certainly was paid by us for doing         11:32:41
15     some programming work before he became the successor           11:32:47
16     of Ulrich Pfeiffer but I don't remember what kind of           11:32:53
17     work it was, whether it was related to SFgate or               11:32:59
18     something else.                                                11:33:02
19            Q.   Mr. Huynh, who you had mentioned previously,       11:33:13
20     was he a member of your group at the University of             11:33:15
21     Dortmund?                                                      11:33:17
22            A.   Well, he was just a student but he was paid        11:33:20
23     by our group for certain work, especially for helping          11:33:25
24     me with preparing slides for my lectures and also              11:33:30
25     doing formatting of publications and things like that.         11:33:34

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                                                                  90
 1            Q.   And when did he begin involvement with your         11:33:42
 2     group?                                                          11:33:45
 3            A.   Involvement?   You mean this kind of work           11:33:50
 4     I mentioned --                                                  11:33:51
 5            Q.   Any type of work with your group.                   11:33:55
 6            A.   Yes, yes.   That -- I don't remember the            11:33:59
 7     exact date, either '91 or '92.                                  11:34:04
 8            Q.   Did there come a time where Mr. Huynh was           11:34:09
 9     doing research or software development for your group?          11:34:13
10            A.   As a paid student, no.                              11:34:18
11            Q.   How about as an unpaid student?                     11:34:23
12            A.   Yes, only as part of his thesis.    So since        11:34:25
13     he -- well, he had worked for me some time and then he          11:34:30
14     was asking for a thesis topic for finishing his                 11:34:34
15     studies and then I came up with the idea that he could          11:34:37
16     do some of the implementation work for extending                11:34:41
17     FreeWAIS.                                                       11:34:46
18            Q.   And when did you come up with that idea?            11:34:47
19            A.   Yes, that was during '93.                           11:34:51
20            Q.   When did Mr. Huynh complete his research or         11:34:56
21     development work relating to FreeWAIS?                          11:35:01
22            A.   That was in the first half of '95.                  11:35:05
23            Q.   Did Mr. Huynh join your group after he              11:35:13
24     completed his work or did he graduate and leave?                11:35:16
25            A.   He graduated and left.                              11:35:20

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                                                                   91
 1             Q.   Do you work with any of the individuals we          11:35:26
 2     discussed currently?                                             11:35:27
 3             A.   No.                                                 11:35:30
 4             Q.   Do you know what Mr. Govert does nowadays?          11:35:31
 5             A.   Yes, he's at the university library of              11:35:36
 6     Dortmund.                                                        11:35:43
 7             Q.   And you mentioned that Mr. Pfeiffer is at           11:35:46
 8     Verizon.     Do you know what Mr. Huynh is doing these           11:35:48
 9     days?                                                            11:35:51
10             A.   I don't know.   I only -- last thing I heard        11:35:52
11     was that he went to Southern Germany but I haven't               11:35:54
12     heard from him after that.                                       11:35:57
13             Q.   Are you in contact at all with Mr. Pfeiffer         11:36:01
14     and Mr. Govert and Mr. Huynh?                                    11:36:04
15             A.   Not -- well, with Mr. Huynh not at all, and         11:36:07
16     with Mr. Pfeiffer I met him just by accident last year           11:36:13
17     but that was the last contact, and Mr. Govert we had             11:36:19
18     an e-mail exchange about some other things also half             11:36:27
19     a year ago.    So I think ...                                    11:36:33
20             Q.   Have you discussed this litigation at all           11:36:38
21     with Mr. Pfeiffer and Mr. Govert?                                11:36:41
22             A.   No, not at all.                                     11:36:44
23             Q.   Are you aware that they are also working            11:36:46
24     with Quinn Emanuel in this litigation?                           11:36:50
25             A.   Yes, I heard about that, yes.                       11:36:55

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 1     client that someone else had installed in order to             14:35:31
 2     know that the FreeWAIS-sf server that they implemented         14:35:35
 3     was working?                                                   14:35:38
 4                 MR. FURMAN:    Objection: asked and answered;      14:35:39
 5     argumentative; leading; vague; incomplete                      14:35:40
 6     hypothetical; calls for speculation.                           14:35:45
 7                 THE WITNESS:   Yes, you needed to run              14:35:48
 8     a client yourself in order to develop a working                14:35:53
 9     application with FreeWAIS-sf in order to test it and           14:36:00
10     go through the development cycle.                              14:36:07
11     BY MR. JAFFE:                                                  14:36:33
12            Q.   Now, you moved from -- strike that question.       14:36:34
13                 When the FreeWAIS-sf source code was posted        14:36:41
14     to the FTP server, who had access to the FTP server?           14:36:50
15                 MR. FURMAN:    Objection: incomplete               14:36:56
16     hypothetical; vague.                                           14:36:57
17                 THE WITNESS:   This was publicly available.        14:37:02
18     BY MR. JAFFE:                                                  14:37:04
19            Q.   What about the server, the FTP server              14:37:05
20     itself, the physical server?     Who had access to that        14:37:07
21     FTP server?                                                    14:37:11
22                 MR. FURMAN:    Objection: calls for                14:37:12
23     speculation; incomplete hypothetical; vague; asked and         14:37:12
24     answered.                                                      14:37:16
25                 THE WITNESS:   Only my staff.                      14:37:17

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                                                               187
 1     BY MR. JAFFE:                                                  14:37:19
 2            Q.   How do you know that?                              14:37:19
 3            A.   Because you needed the password in order to        14:37:21
 4     do any changes on the FTP server.                              14:37:26
 5            Q.   And those changes included modifications to        14:37:29
 6     the FTP server, correct?                                       14:37:32
 7            A.   Yes.                                               14:37:34
 8                 MR. FURMAN:   Objection.                           14:37:35
 9     BY MR. JAFFE:                                                  14:37:55
10            Q.   You mentioned earlier that your student            14:37:56
11     Huynh Tung worked on a thesis that -- for which the            14:37:58
12     subject matter was the FreeWAIS -- let me strike that          14:38:08
13     question.                                                      14:38:11
14                 You mentioned that your student Huynh Tung         14:38:13
15     worked on a thesis for you, correct?                           14:38:16
16            A.   Yes.                                               14:38:18
17            Q.   What was the subject matter of that thesis?        14:38:18
18            A.   The subject was the extension of the               14:38:20
19     FreeWAIS system towards what is now called FreeWAIS-sf         14:38:23
20     by adding the features.                                        14:38:29
21            Q.   When did Huynh Tung start working on the           14:38:34
22     thesis?                                                        14:38:39
23            A.   That must have been at some point in time          14:38:40
24     during '93.                                                    14:38:43
25            Q.   And when did he complete the thesis?               14:38:46

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                                                                 188
 1                 MR. FURMAN:    Objection: asked and answered.       14:38:49
 2                 THE WITNESS:   That was in '95; so that was         14:38:50
 3     quite long but at that department the standard time             14:38:55
 4     for a thesis was a year anyway and then he had to work          14:39:00
 5     besides working on this thesis and so it took him               14:39:07
 6     longer.                                                         14:39:12
 7     BY MR. JAFFE:                                                   14:39:15
 8            Q.   What happened to the thesis after he                14:39:18
 9     completed it?                                                   14:39:21
10                 MR. FURMAN:    Objection: vague; incomplete         14:39:22
11     hypothetical; calls for speculation.                            14:39:24
12                 MR. JAFFE:    Strike that question.                 14:39:26
13     BY MR. JAFFE:                                                   14:39:27
14            Q.   What happened to the thesis after he                14:39:27
15     completed writing it?                                           14:39:29
16                 MR. FURMAN:    Objection, same -- sorry, same       14:39:31
17     objections.                                                     14:39:32
18                 MR. JAFFE:    Strike that question.                 14:39:34
19     BY MR. JAFFE:                                                   14:39:35
20            Q.   What is the process for -- what was the             14:39:37
21     process for writing a thesis in university at the time          14:39:39
22     Huynh Tung wrote it?                                            14:39:45
23                 MR. FURMAN:    Objection: calls for                 14:39:46
24     speculation; vague; incomplete hypothetical.                    14:39:47
25                 THE WITNESS:   You first had to register that       14:39:51

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  1     you were working on this thesis and then you finally           14:39:54
  2     had to submit at least three copies of your thesis and         14:40:00
  3     two copies went to the reviewers and one copy would go         14:40:10
  4     to the library.                                                14:40:16
  5     BY MR. JAFFE:                                                  14:40:19
  6           Q.   Did you have any role in helping Huynh Tung         14:40:21
  7     with his thesis?                                               14:40:25
  8           A.   Only -- yes, I gave rather detailed                 14:40:27
  9     specification and pointed him towards the methods that         14:40:33
 10     he could apply and then the closest supervision was            14:40:38
 11     done by Ulrich Pfeiffer, who helped him with the               14:40:44
 12     implementation.                                                14:40:47
 13           Q.   Once the thesis was sent to the library,            14:40:51
 14     what happened to the thesis?                                   14:40:57
 15                MR. FURMAN:    Objection: calls for                 14:40:59
 16     speculation --                                                 14:40:59
 17                MR. JAFFE:    I'm sorry, strike that question.      14:41:00
 18     BY MR. JAFFE:                                                  14:41:02
 19           Q.   Once the thesis was sent to the library, was        14:41:02
 20     it then available to the public?                               14:41:04
 21                MR. FURMAN:    Objection: calls for                 14:41:07
 22     speculation.                                                   14:41:07
 23                THE WITNESS:   Yes, all theses were put on          14:41:09
 24     a shelf and then told that it was -- they were                 14:41:14
 25     accessible for any visitor of the library.                     14:41:18

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                                                                   190
  1     BY MR. JAFFE:                                                    14:41:21
  2             Q.   Could someone from the United States visit          14:41:23
  3     the library and find the thesis?                                 14:41:24
  4             A.   Yes --                                              14:41:28
  5                  MR. FURMAN:    Objection: calls for                 14:41:30
  6     speculation.                                                     14:41:30
  7                  THE WITNESS:    -- the library was open for         14:41:31
  8     everybody.    There was no checking of your identity or          14:41:34
  9     so.                                                              14:41:37
 10     BY MR. JAFFE:                                                    14:41:37
 11             Q.   Did Dortmund University have visitors from          14:41:37
 12     the United States?                                               14:41:40
 13             A.   I don't know.                                       14:41:43
 14             Q.   I'd like the court reporter to hand you what        14:41:47
 15     has been marked as exhibit 4.                                    14:41:48
 16              (Exhibit 4 marked for identification.)                  14:41:54
 17                  MR. FURMAN:    Again, I object to this.   It's      14:41:55
 18     outside the scope of what you're allowed to ask him.             14:41:57
 19     BY MR. JAFFE:                                                    14:41:59
 20             Q.   I ask you if you recognize this document.           14:42:00
 21             A.   Yes, that's the diploma thesis by Huynh             14:42:02
 22     Tung.                                                            14:42:08
 23             Q.   Is this the same thesis that was provided to        14:42:09
 24     the library?                                                     14:42:11
 25                  MR. FURMAN:    Objection: calls for                 14:42:14

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